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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSE TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGE DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Response to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents, rendered February 10, 2025. We are submitting these documents for
in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
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Entry Nos. 7796 (PRIV-APL-EG_00226492), 7806 (PRIV-APL-EG_00227561), 7825 (PRIV-
APL-EG_00227845), 8173 (PRIV-APL-EG_00230040), 11577 (PRIV-APL-EG_00266116)

        Entry 7796 (PRIV-APL-EG_00226492) is a deck entitled “Proposed responses to Epic
injunction.” A review of the deck confirms it was created for the primary purpose of providing
legal advice. For example, the first several slides identify which elements of Apple’s compliance
plan are “[r]equire[d]” under the Injunction, which are “[a]llow[ed],” under the Injunction, or for
which the Injunction is “[a]mbiguous.” The deck then presents several proposals, with the
associated “Risks” noted for each proposal. There is some limited financial modeling in the deck,
but the majority of the deck concerns an analysis of the various options for complying with the
Injunction and their respective strengths and weaknesses from a compliance perspective. The
document is marked as “Prepared at the Request of Counsel,” confirming its primary purpose as
providing legal advice. It is privileged.

        Entry 7806 (PRIV-APL-EG_00227561) is a Slack chat among several individuals. Epic
asserts that Apple has not identified any lawyer participants in the chat, but that is inaccurate—the
privilege log identifies Ling Lew (in-house counsel) as the relevant attorney providing legal
advice. The entire thread, in fact, is a conversation largely between Ms. Lew and the non-lawyers
regarding what is allowed under the Injunction, how Apple’s commission will be structured, and
the terms of the addenda to the Developer Program License Agreement. Because the exchange
consists entirely of requests for legal advice to a lawyer (Ms. Lew) and Ms. Lew’s responses, the
document is properly withheld. See United States v. ChevronTexaco Corp., 241 F. Supp. 2d 1065,
1076 (N.D. Cal. 2002).

        Entry 7825 (PRIV-APL-EG_00227845) is a text message chain among several individuals
regarding certain financial modeling issues related to the Injunction. Epic claims that Apple has
not identified any lawyer participants in the message chain, but Epic is incorrect: The privilege
log identifies Ms. Lew as the relevant attorney providing legal advice and explains that the
document concerns “[f]inancial impact modeling at the direction of Sean [Cameron] [(in-house
counsel]) and Ling Lew.” Regardless of whether the financial modeling standing alone is
privileged, a discussion about requests from attorneys regarding that modeling is. See In re
Lidoderm Antitrust Litig., 2015 WL 7566741, at *4 (N.D. Cal. Nov. 25, 2015) (“The attorney-
client privilege protects communications between attorneys and their clients even when the facts
being conveyed may themselves be unprivileged.”); see also Stirratt v. Uber Techs., 2024 WL
1723710, at *1 (N.D. Cal. Apr. 19, 2024) (“[W]here an attorney gives a client legal advice on a
business decision, that communication is protected by privilege.”).

        With respect to work product protection for Entry 7825, Epic makes the odd argument that
materials created in connection with ongoing litigation (here, compliance with an injunction in a
live proceeding) cannot be protected by work product unless the party believes it is likely to be
held in contempt. In Epic’s view, apparently, Apple’s work product in complying with the
Injunction is not protected unless Apple believed it was not in compliance with the Injunction, a
kind of circular reasoning that is unsupported by precedent. See Colonies Partners, L.P. v. County
of San Bernardino, 2020 WL 5846477, at *4 (C.D. Cal. Jan. 24, 2020) (work product applies
“when litigation is pending”); ACLU of N. Cal. v. Dep’t of Justice, 2015 WL 3793496, at *7 (N.D.
Cal. June 17, 2015) (work product protects attorney work “relevant to any specific, ongoing, or
prospective case or cases”).



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        Entry 8173 (PRIV-APL-EG_00230040) is an email thread between several non-lawyers
and Mr. Cameron, Ms. Lew, Jason Cody, and Jennifer Brown (all in-house counsel). The email
thread is initiated by a non-lawyer who directs a question to Mr. Cameron and Ms. Lew regarding
the treatment of different developer programs under Apple’s Injunction compliance plan. Ms. Lew
responds, and two non-lawyers concur with her response. The exchange is a request for legal
advice and a response by a lawyer, and therefore is privileged. The fact that the application of
Apple’s new Entitlement to certain developers in these programs was the subject of testimony at
the evidentiary hearing does not vitiate the privilege as to the legal advice regarding those
programs. See Admiral Ins. Co. v. U.S. Dist. Ct. for Dist. of Ariz., 881 F.2d 1486, 1494 (9th Cir.
1989) (“[T]he privilege cannot be overcome by a showing of need . . . .”).

        Entry 11577 (PRIV-APL-EG_00266116) is an email chain among non-lawyers in which
the non-lawyers discussing requests to and information incoming from “Legal and Tax,” as well
as “pending external counsel guidance” regarding tax treatment of various commission models.
“[A] document that is not communicated between an attorney and a client may still be privileged
as long as the document by its nature and contents memorializes and reflects legal advice rendered
in a privileged conversation.” Chrimar Sys. Inc. v. Cisco Sys. Inc., 2016 WL 1595785, at *3 (N.D.
Cal. Apr. 21, 2016) (quotation marks omitted). This is such a document and it is privileged.




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DATED: February 18, 2025                WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




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